

People v Nunez (2022 NY Slip Op 00016)





People v Nunez


2022 NY Slip Op 00016


Decided on January 04, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 04, 2022

Before: Gische, J.P., Singh, Mendez, Shulman, Pitt, JJ. 


Ind. No. 2694/18 Appeal No. 14958 Case No. 2020-00080 

[*1]The People of the State of New York, Respondent, 
vGilbert Nunez, Defendant-Appellant.


Caprice R. Jenerson, Office of The Appellate Defender, New York (Victorien Wu of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (John T. Komondorea of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (Ethan Greenberg, J.), rendered September 11, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 4, 2022
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








